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                          U NITED STA TE S DISTRICT CO U RT
                                  D ISTRICT O F N EVA DA
     UNITED STATES OF AMERICA,                    )
                                                  )
                         Plaintiff,               )
                                                  )
           v.                                     )             2:lI-CR-4I4-PM P-IILUI
                                                  )
     JOSE CARDENAS,                               )
                                                  )
11                       Defendant.               )
                            FINA L O R D ER O F FO R FEITU RE A S TO
                               D EFEND A NT JO SE CA R DEN A S


           On Febnzazy 3,2012,thisCourtentered aPrelim inaryOrderofForfeiturepursuantto Fed.

     R.Crim .P.32.209(1)arld(2);Tille21,UnitedStatesCode,Section853(a)(1)and853(a)(2);Title
     18,United StatesCode,Section 924(d)(1),(2)(C)and (3)(B)and Title28,United StatesCode,
     Section 2461(c);andTitle21,United StatesCode,Section 881(a)(11)and Title28,United States
     Code,Section2461(c),forfeitingpropertyofdefendantJOSE CARDENAStotheUnitedSvtesof
     Am erica.Crim inalIndictm ent,ECF N o.22;Plea M em orandum ,ECF N o.52;M inutes of Change

     ofPlea Proceedings,ECF N o.50;Prelim inmy OrderofForfeiture,ECF N o.56.
21                 IT IS H EREB Y ORD ER ED ,A DJU D GED ,AN D DECREED ptlrsuantto Fed.R.

     Crim.P 32.2(b)(4)(A)and(B)thattheforfeitureofthepropertynamedinthePreliminaryOrderof
     Forfeitlzre isfinalasto defcndantJO SE CARD EN A S.
           D ATED this    17tdayor               .         ,   2012.


                                                 IT    STATES          STRICT JUD G E
